                                    Case 4:13-cv-05413-PJH Document 1-2 Filed 11/21/13 Page 1 of 1
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AUTOMATTIC INC. and                                                                                              NICK STEINER
OLIVER HOTHAM

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                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                       $WWRUQH\V(If Known)
JOSEPH C. GRATZ (SBN 240676)                                                                                     Unknown
DURIE TANGRI LLP, 217 Leidesdorff Street, San Francisco, CA 94111
email: jgratz@durietangri.com; telphone: (415) 362-6666

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                                                                                                                (For Diversity Cases Only)                                                               and One Box for Defendant)
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                                            17 U.S.C. § 512(f)
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                                            Knowing material misrepresentation in notice sent pursuant to 17 U.S.C. § 512(c)
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IX. DIVISIONAL ASSIGNMENT (Civil L.R. 3-2)

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